     Case 19-42449   Doc 12   Filed 09/19/19   Entered 09/19/19 09:47:12   Desc Main Document   Page 1 of 5




                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

IN RE:                                                       §         CASE NO. 19-42449
KARIM LALANI AND SHIRIN LALANI                               §
       DEBTORS                                               §         CHAPTER 7
                                                             §
NATIONSTAR MORTGAGE LLC D/B/A                                §
MR. COOPER, ITS SUCCESSORS AND                               §
ASSIGNS                                                      §
     MOVANT                                                  §
VS.                                                          §
KARIM LALANI AND SHIRIN LALANI,                              §
DEBTORS AND CHRISTOPHER MOSER,                               §
TRUSTEE                                                      §
     RESPONDENTS

            MOTION FOR RELIEF FROM AUTOMATIC STAY AS TO
               1825 GARRETT DRIVE, CARROLLTON, TX 75010
           WAIVER OF SECTION 362(e) REQUIREMENT IF APPLICABLE

  YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS
  PLEADING. YOU SHOULD READ THIS PLEADING CAREFULLY AND DISCUSS IT
  WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF
  YOU OPPOSE THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A
  WRITTEN OBJECTION, EXPLAINING THE FACTUAL AND/OR LEGAL BASIS FOR
  OPPOSING THE RELIEF.

  NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
  OBJECTION IS FILED WITH THE CLERK OF THE UNITED STATES
  BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING
  WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE SHOWN IN THE
  CERTIFICATE OF SERVICE UNLESS THE COURT SHORTENS OR EXTENDS THE
  TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
  AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE
  COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT. IF AN
  OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
  THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO
  APPEAR AT THE HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
  RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

  A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
            Case 19-42449   Doc 12   Filed 09/19/19    Entered 09/19/19 09:47:12   Desc Main Document   Page 2 of 5




               NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER, ITS SUCCESSORS AND

ASSIGNS (hereinafter Movant), secured creditor and party in interest to the above-styled bankruptcy

proceeding and files this Motion for Relief from Automatic Stay. In support of its Motion, Movant would

respectfully shows:

                                                      I. JURISDICTION

       1.      This Court has jurisdiction of this matter pursuant to 28 U.S.C. §1334 and 11 U.S.C. §§105

and 362.

       2.      This is a core proceeding under 28 U.S.C. §157(b)(2)(G).

                                                          II. FACTS

       3.      On September 6, 2019, KARIM LALANI AND SHIRIN LALANI (hereinafter Debtors)

filed a Voluntary Petition for Relief under Chapter 7 of the Bankruptcy Code, thereby initiating the above-

styled Bankruptcy Case. CHRISTOPHER MOSER is the duly appointed and acting Trustee.

       4.      On November 09, 2007, Karim Lalani executed a Note (“Note”) in the original principal

amount of $188,700.00, payable to the order of Countrywide Bank, FSB.

       5.      Concurrently with the execution of the Note, Karim Lalani, and wife, Shirin Lalani,

executed a Deed of Trust granting a lien on certain real property (“Property”) to secure payment of the

Note. The Deed of Trust grants a lien on the Property described as follows:

THE FOLLOWING DESCRIBED REAL PROPERTY SITUATE IN THE COUNTY OF DENTON,
AND STATE OF TEXAS, TO WIT: BEING LOT 15, BLOCK 8 OF OAKWOOD SPRINGS ADDITION,
PHASE I, AN ADDITION TO THE CITY OF CARROLLTON, DENTON COUNTY, TEXAS,
ACCORDING TO THE PLAT THEREOF RECORDED IN CABINET K, SLIDE 288, PLAT RECORDS,
DENTON COUNTY, TEXAS; AS AMENDED BY CERTIFICATE OF CORRECTION OF ERROR
FILED SEPTEMBER 28, 1994, RECORDED UNDER COUNTY CLERK'S FILE NUMBER 94-
R0074415, DEED RECORDS, DENTON COUNTY, TEXAS.

      Also known as:
      1825 GARRETT DRIVE
      CARROLLTON, TX 75010
              Case 19-42449   Doc 12   Filed 09/19/19   Entered 09/19/19 09:47:12   Desc Main Document   Page 3 of 5




The Deed of Trust was duly recorded in the DENTON County Deed Records.

        6.       Debtors allege to be the current owners of record of the Property.

        7.        Debtors are in default on the obligation to Movant in that Debtors have failed to make

installment payments when due and owing pursuant to the terms of the above-described Note.

        8.       As of September 10, 2019, the status of the indebtedness is as follows:

                 a)       Debtors are due for June 2019 contractual and subsequent monthly installments.

                          June 1, 2019 through July 1, 2019 payments are $1,658.73 monthly, and August 1,

                          2019 through September 1, 2019 payments are $2,070.42. The unpaid principal

                          balance due and owing to Movant on the Note is $236,714.14.

                 b)       Additional fees have been incurred, including, Movant’s reasonable attorney fees

                          and costs in an amount allowable by local practice, rule, or order.

                                             III. RELIEF FROM THE STAY

        9.       Movant requests that this Honorable Court terminate the automatic stay pursuant to the

provisions of the Bankruptcy Code to allow Movant to exercise all of its rights and remedies against the

Debtors under state law, including, inter alia, foreclosing its lien on the Property.

        10.       Movant alleges that cause exists for the lifting of the stay and Movant's interest is not

adequately protected. 11 U.S.C. § 362(d)(1).

        11.      It has been necessary for Movant to hire the law firm of Codilis & Moody, P.C. to collect

the debt owed to it through this Court. Pursuant to the Note and Deed of Trust, Movant is entitled to

reimbursement of its reasonable attorneys' fees for their services.

        12.      Movant requests that an Order granting its motion for relief from automatic stay, if such

Order should be entered, will be effective immediately upon entry, Rule 4001 (a) (3) is waived, and

enforcement of such Order will not be stayed until the expiration of fourteen days after entry of the Order.
              Case 19-42449   Doc 12   Filed 09/19/19   Entered 09/19/19 09:47:12   Desc Main Document   Page 4 of 5




        13.      Movant further requests that an Order granting its motion for relief from automatic stay, if

such Order should be entered, will remain in full force and effect if this bankruptcy case is converted to a

different Chapter in the United States Bankruptcy Court.

        WHEREFORE, PREMISES CONSIDERED, Movant prays that this Court enter an Order granting

relief from the automatic stay to allow Movant to exercise and enforce all its rights and remedies against

the Debtors as a secured creditor and perfected lienholder to the Property; including, but not limited to,

foreclosure and disposition of the Property, payment of costs, expenses, and reasonable attorneys' fees in

accordance with the terms of the Note and Deed of Trust, and for such other relief to which Movant may

show itself justly entitled, either at law or in equity.


                                                             Respectfully submitted,

                                                             Codilis & Moody, P.C.

                                                             By: /s/ Cristina Platon Camarata____
                                                             Annarose Harding SBOT#24071438
                                                             Carron E. Nicks SBOT#01311905
                                                             Nicole Bartee SBOT#24007674
                                                             Cristina Platon Camarata SBOT#16061560
                                                             Lakia S. McCline SBOT#24093485
                                                             400 N. Sam Houston Pkwy E, Suite 900A
                                                             Houston, TX 77060
                                                             Telephone: (281) 925-5200
                                                             Facsimile: (281) 925-5300
                                                             ATTORNEYS FOR MOVANT
            Case 19-42449   Doc 12   Filed 09/19/19   Entered 09/19/19 09:47:12   Desc Main Document   Page 5 of 5




                                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion for Relief from Automatic
Stay, was served on September 20, 2019 to the following parties at the addresses indicated by deposit in the
United States Mail, first class postage prepaid, and/or by electronic notice on September 19, 2019.

KARIM LALANI
SHIRIN LALANI
1825 GARRETT DRIVE
CARROLLTON, TX 75010
DEBTORS

ERIC A. LIEPINS
12770 COIT ROAD SUITE 1100
DALLAS, TX 75251
ATTORNEY FOR DEBTORS

CHRISTOPHER MOSER
2001 BRYAN STREET, SUITE 1800
DALLAS, TX 75201
CHAPTER 7 TRUSTEE

UNITED STATES TRUSTEE
EASTERN DISTRICT OF TEXAS
110 NORTH COLLEGE AVENUE
TYLER, TEXAS 75702

ENTITY WITH INTEREST IN PROPERTY:
MR COOPER
P.O. BOX 619098
DALLAS, TX 75261

PARTIES REQUESTING NOTICE:
SYNCHRONY BANK
C/O PRA RECEIVABLES MANAGEMENT, LLC
PO BOX 41021
NORFOLK, VA 23541
                                 Codilis & Moody, P.C.

                                                           /s/ Cristina Platon Camarata_______
                                                           Annarose Harding SBOT#24071438
                                                           Carron E. Nicks SBOT#01311905
                                                           Nicole Bartee SBOT#24007674
                                                           Cristina Platon Camarata SBOT#16061560
                                                           Lakia S. McCline SBOT#24093485
                                                           ATTORNEYS FOR MOVANT
